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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


JELYNN MIKELE FRIESON,


                               Plaintiff,
vs.                                             CASE NO.:

                                                JURY TRIAL
EQUIFAX INFORMATION                             DEMANDED
SERVICES, LLC, and EXPERIAN
INFORMATION SOLUTIONS, INC,


                             Defendants.


                                  COMPLAINT

      JeLynn Mikele Frieson (“Plaintiff”), a living, breathing consumer, brings this

Complaint against Equifax Information Services, LLC (“Equifax”) and Experian

Information Solutions, Inc. (“Experian”) and states as follows:

                                INTRODUCTION

      1.    The computerization of our society has resulted in a revolutionary

increase in the accumulation and processing of data concerning individual American

consumers. Data technology, whether it is used by businesses, banks, the Internal

Revenue Service or other institutions, allows information concerning individual
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consumers to flow instantaneously to requesting parties. Such timely information is

intended to lead to faster and better decision-making by its recipients and, in theory,

all of society should ultimately benefit from the resulting convenience and

efficiency.

      2.      However, unfortunately this information has also become readily

available for, and subject to, mishandling and misuse. Individual consumers can and

do sustain substantial damage, both economically and emotionally, whenever

inaccurate or fraudulent information is disseminated and/or obtained about them. In

fact, Defendants acknowledge this potential for misuse and resulting damage every

time they sell their credit monitoring services to a consumer.

      3.      The ongoing technological advances in the area of data processing have

resulted in a boon for the companies that accumulate and sell data concerning

individuals’ credit histories and other personal information. Such companies are

commonly known as consumer reporting agencies (“CRAs”).

      4.      Defendants Equifax and Experian are each CRAs as defined by the Fair

Credit Reporting Act, 15 U.S.C. § 1681a(f).

      5.      These CRAs sell information to readily paying subscribers (i.e.,

retailers, landlords, lenders, potential employers, and other similar interested




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parties), commonly called “consumer reports,” concerning individuals who may be

applying for retail credit, housing, employment, or a car or mortgage loan.

      6.    Since 1970, when Congress enacted the Fair Credit Reporting Act, 15

U.S.C. § 1681, et seq. (“FCRA”), federal law has required CRAs to implement and

utilize reasonable procedures “to assure maximum possible accuracy” of the

personal, private, and financial information that they compile and sell about

individual consumers.

      7.    One of the primary purposes in requiring CRAs to assure “maximum

possible accuracy” of consumer information is to ensure the stability of our banking

system:

      The banking system is dependent upon fair and accurate credit
      reporting. Inaccurate credit reports directly impair the efficiency of the
      banking system, and unfair credit reporting methods undermine the
      public confidence which is essential to the continued functioning of the
      banking system.

See 15 U.S.C. § 1681(a)(1).

      8.    The preservation of one’s good name and reputation is also at the heart

of the FCRA’s purposes:

      [W]ith the trend toward computerization of billings and the
      establishment of all sorts of computerized data banks, the individual is
      in great danger of having his life and character reduced to impersonal
      “blips” and key-punch holes in a stolid and unthinking machine which
      can literally ruin his reputation without cause, and make him
      unemployable or uninsurable, as well as deny him the opportunity to
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      obtain a mortgage or buy a home. We are not nearly as much concerned
      over the possible mistaken turn-down of a consumer for a luxury item
      as we are over the possible destruction of his good name without his
      knowledge and without reason. * * * [A]s Shakespeare said, the loss of
      one’s good name is beyond price and makes one poor indeed (emphasis
      added).

Bryant v. TRW, Inc., 689 F.2d 72, 79 (6th Cir. 1982) [quoting 116 Cong. Rec.

36570 (1970)].

      9.     The FCRA also requires CRAs to conduct a reasonable reinvestigation

to determine whether information disputed by consumers is inaccurate and record

the current status of the disputed information, or delete the disputed information,

before the end of the 30-day period beginning on the date on which the CRA receives

the notice of dispute from the consumer. This mandate exists to ensure that consumer

disputes are handled in a timely manner and that inaccurate information contained

within a consumer’s credit report is corrected and/or deleted so as to not prevent said

consumer from benefiting from his or her credit and obtaining new credit.

      10.    In light of these important findings and purposes, Congress specifically

noted “a need to insure that [CRAs] exercise their grave responsibilities with

fairness, impartiality, and respect for the consumer’s right to privacy.” See 15 U.S.C.

§ 1681(a)(4).

      11.    This action seeks actual, statutory, and punitive damages, costs and

attorneys’ fees for Plaintiff against Defendants for their willful and/or negligent
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violations of the Fair Credit Reporting Act, 15 U.S.C. §§ 1681, et seq., as described

herein.

                                     THE PARTIES

      12.    Plaintiff JeLynn Mikele Frieson (“Plaintiff”), is a natural person who

resides in the State of Alabama, and is a “consumer” as that term is defined in 15

U.S.C. § 1681a(c).

      13.    Defendant Equifax Information Services, LLC. (“Equifax”) is a limited

liability company that resides in the State of Georgia and in the Northern District.

      14.    Equifax is a “consumer reporting agency” as defined in 15 U.S.C. §

1681a(f). Equifax is regularly engaged in the business of assembling, evaluating,

and disseminating information concerning consumers for the purpose of furnishing

consumer reports, as defined in 15 U.S.C. § 1681a(d) to third parties.

      15.    Defendant Experian Information Solutions, Inc. (“Experian”) is a

foreign limited liability company authorized to do business in the State of Georgia.

      16.    Experian is a “consumer reporting agency” as defined in 15 U.S.C. §

1681a(f). Experian is regularly engaged in the business of assembling, evaluating,

and disseminating information concerning consumers for the purpose of furnishing

consumer reports, as defined in 15 U.S.C. § 1681a(d) to third parties.

                            JURISDICTION AND VENUE

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      17.    This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C.

§ 1331 and 15 U.S.C. § 1681p, which allows claims under the FCRA to be brought

in any appropriate court of competent jurisdiction.

      18.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claims

occurred in this District.

      19.    Plaintiff mailed multiple written disputes regarding inaccurate

information in Plaintiff’s Equifax credit report to Equifax located in Fulton County;

Atlanta, Georgia.

      20.    Defendant Equifax received Plaintiff’s multiple written disputes in

Fulton County; Atlanta, Georgia.

      21.    Upon receipt of Plaintiff’s disputes, Defendant Equifax forwarded such

disputes via Automated Consumer Dispute Verification electronic forms. Upon

completion of its investigations pursuant to 15 U.S.C. § 1681s-2(b), the furnisher

responded to Defendant Equifax’s electronic communications, which originated

from Atlanta, Georgia, by sending its results electronically to Defendant Equifax in

Fulton County; Atlanta, Georgia




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      22.    Defendant Equifax then processed the dispute results at its National

Consumer Assistance Center in Atlanta, Georgia, and mailed Plaintiff its final

dispute results from Atlanta, Georgia.

                                       FACTS

   The Credit Bureau Defendants’ Practices Concerning the Sale of Credit
                       Reports on the “Deceased”

      23.    Defendants Equifax and Experian sell millions of consumer reports

(often called “credit reports” or “reports”) per day, and also sell credit scores.

      24.    Pursuant to 15 U.S.C. § 1681e(b), consumer reporting agencies, like

Defendants Equifax and Experian are required “to follow reasonable procedures to

assure maximum possible accuracy of the information concerning the individual

about whom the report relates.”

      25.    Pursuant to 15 U.S.C. §§ 1681b and 1681e(a), consumer reporting

agencies, like Defendants Equifax and Experian must maintain reasonable

procedures to assure that reports are sold only for legitimate “permissible purposes.”

      26.    Defendants Equifax and Experian routinely place a “deceased” notation

or marking on credit reports when they are advised by any of their many data

furnishing sources (such as banks and debt collectors) that a given consumer is

deceased.


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      27.    Defendants Equifax and Experian’s furnishing sources identify

“deceased” consumers by marking the “status” of such consumer’s responsibility for

any subject account with an “X” code in the “ECOA” field of an electronic data

input format used in the credit reporting industry, known as Metro or Metro 2.

      28.    Defendants Equifax and Experian do not request or require a death

certificate from any of their data sources which advise that a consumer is “deceased”

before placing a “deceased” mark in that consumer’s credit file.

      29.    Defendants Equifax and Experian do not request or require any proof

from any data source which advises that a consumer is “deceased” showing that the

consumer is, in fact, deceased before placing a “deceased” mark on that consumer’s

report.

      30.    Defendants Equifax and Experian do not independently verify with any

source or furnisher that a consumer is, in fact, deceased before placing a “deceased”

mark on that consumer’s report.

      31.    In some cases, in order to assure accuracy, Defendants Equifax and

Experian may send letters and/or other communications to consumers when certain

information that may be considered suspicious or unreliable is furnished about said

consumers to be placed in their credit files, such as in cases where consumers have

a freeze or fraud alert on their credit report, or in accordance with certain state laws,

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such as the consumer laws of Colorado. Defendants Equifax and Experian do not

have any procedure to notify consumers (such as a next of kin or executor or

administrator of the consumer’s estate) when an “X” deceased code is furnished to

it to be placed in said consumer’s credit file or report.

       32.    Defendants Equifax and Experian regularly receive the “Death Master

File” from the Social Security Administration, including weekly and/or monthly

updates, listing by social security number those consumers that the government

believes to be deceased. But Defendants Equifax and Experian do not cross-

reference the “X” code received from data furnishers with the Death Master File in

order to determine whether any given consumer reported as deceased via a

furnishing source is also on the Death Master File before selling a credit report about

said consumer, or at any time.

       33.    Defendants Equifax and Experian will only use the Death Master File

to sell additional products for an additional fee, which are designed to show whether

a given consumer is truly deceased.

       34.    Defendants Equifax and Experian do not employ any procedures at all

to assure that a consumer with a “deceased” mark on a report is, in fact, actually

deceased before placing the “deceased” mark on that consumer’s report and selling

that report for profit.

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        35.   Even in instances where other data on the face of the consumer’s report

indicates that he/she is not deceased, Defendants Equifax and Experian do not

employ any procedures to assure that a consumer with a “deceased” mark on a report

is, in fact, actually deceased before placing the “deceased” mark in that consumer’s

file.

        36.   Even in instances where the purportedly deceased consumer

communicates directly with Defendants Equifax and Experian, Defendants Equifax

and Experian do not employ any procedures to assure that a consumer with a

“deceased” mark on a report is, in fact, actually deceased before placing the

“deceased” mark on that consumer’s report.

        37.   Once a “deceased” mark is placed upon a consumer’s report,

Defendants Equifax and Experian will not calculate and will not provide a credit

score for that consumer.

        38.   Upon Defendants Equifax and Experian’s reports with a “deceased”

mark sold to third parties, Defendants Equifax and Experian never calculate or

provide a credit score for that consumer and instead reports that consumer’s credit

score as “N/A.”

        39.   Defendants Equifax and Experian know that third party credit issuers

require a credit score in order to process a given credit application.

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       40.    Defendants Equifax and Experian know that consumers without credit

scores are unable to secure any credit from most credit issuers.

       41.    Defendants Equifax and Experian know that living consumers are

routinely turned down for credit specifically because they are reporting them as

“deceased” and without a credit score.

       42.    Defendants Equifax and Experian have been put on notice for years

through consumer disputes and lawsuits that living, breathing consumers are turned

down for credit specifically because they are reporting them as “deceased” and

without a credit score.

       43.    Defendants Equifax and Experian have received and documented many

disputes from consumers complaining that their credit reports had them erroneously

marked as “deceased.”

       44.    Defendants Equifax and Experian know that thousands of consumers

are erroneously marked as “deceased” on their credit reports via an erroneous

furnishing of the “X” code, even when said consumers (and their dates of birth and

social security numbers) are not on the Death Master File and are, in fact, alive.

       45.    Nevertheless, Defendants Equifax and Experian do not employ any

procedures to assure that a consumer marked as “deceased” on their credit reports

is, in fact, deceased.

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      46.    Even consumers who dispute the erroneous “deceased” status on their

Equifax and Experian credit reports continue to be erroneously marked as deceased

unless the furnishing source which provided the erroneous “X” code in the first

instance decides to change the code.

      47.    Defendants Equifax and Experian do not have any independent

procedure to change an erroneous deceased status on their own and will merely

parrot their furnishing source in the case of a reinvestigation into the accuracy of the

deceased status upon a consumer’s report, a reinvestigation which is triggered by a

consumer dispute.

      48.    Nor do Defendants Equifax and Experian employ any procedures to

limit or stop the furnishing of reports to third parties for consumers that they have

marked as “deceased” under any circumstances.

      49.    For years after a consumer’s actual death, Defendants Equifax and

Experian will continue to sell credit reports about that consumer.

      50.    Defendants Equifax and Experian will only remove a deceased

consumer’s file from their respective credit reporting databases when it is no longer

valuable to them—meaning that no one is continuing to purchase reports about that

consumer.




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      51.    Defendants Equifax and Experian charge third parties a fee for reports

with a mark that a consumer is deceased (“reports on the deceased”) as they would

for any other report.

      52.    Defendants Equifax and Experian profit from the sale of reports on

deceased consumers.

      53.    Defendants Equifax and Experian have in their respective credit

reporting databases many “deceased” tradelines corresponding to distinct credit files

for individual consumers that they have marked as “deceased.”

      54.    Defendants Equifax and Experian know that truly deceased consumers

do not apply for credit.

      55.    Defendants Equifax and Experian know that the credit information and

reports of truly deceased persons are used by criminals to commit identity theft or

credit fraud. Indeed, identity theft using the personal identifying information of

deceased consumers is known to Defendants Equifax and Experian to be a common

and major source of identity theft.

      56.    Defendants Equifax and Experian know that identity theft and credit

fraud are serious and widespread problems in our society.

      57.    Defendants Equifax and Experian warn the relatives of truly deceased

consumers that identity theft can be committed using the credit reports and

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information of the deceased, and require relatives to provide a death certificate or

executorship papers, among other forms of proof, before accessing the deceased

consumer’s credit information or report.

      58.    Defendants Equifax and Experian have no similar death certificate,

executorship paper, or any other proof requirements for their data sources, which

report a consumer as deceased or for the purchasers of their reports who access the

purportedly deceased consumer’s information.

      59.    Defendants Equifax and Experian sell reports on supposedly deceased

consumers to third parties in an automated fashion and without any specific or

general certification that could reasonably explain a “permissible purpose” for

purchasing or using a (supposedly) deceased consumer’s credit history and/or report.

      60.    For consumers who are deceased, there rarely, if ever, exists a

permissible purpose under the FCRA for Defendants Equifax and Experian to sell

their credit reports, absent a court order.

      61.    Defendants Equifax and Experian know that such reports contain a vast

amount of personal identifying and credit account information on the supposedly

deceased consumer, information that can be used to commit identity theft or for other

fraudulent purposes.




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   Homestar Financial Denied Plaintiff Mortgage Due to Inaccurate Credit
                 Reporting on or about February 1, 2022

      62.    On or about February 1, 2022, Plaintiff sought to obtain credit and

submitted a credit application.

      63.    Shortly thereafter, Homestar Financial denied Plaintiff credit based on

the contents of Plaintiff’s credit reports.

      64.    Plaintiff takes great pride in Plaintiff’s good name and established

credit rating and works hard to ensure that the bills are paid in full and on time each

month. Plaintiff believes and understands that their credit record with creditors is

good, so Plaintiff could not imagine how the application had been denied.


        Plaintiff Sees Equifax Reporting Deceased on February 2, 2022


      65.    On or about February 2, 2022, Plaintiff sees that Equifax is reporting a

deceased notation on Plaintiff’s credit report.

     WebBank / Fingerhut
     Account Number 636992xxxxxxxxx
     Account Status: Consumer Deceased


        Plaintiff Sees Experian Reporting Deceased on February 2, 2022


      66.    Upon information and belief, on or about February 2, 2022, Experian is

reporting a deceased notation on Plaintiff’s credit report.

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      Plaintiff’s Dispute with Equifax and Experian on February 2, 2022

      67.    On or about February 2, 2022, extremely shocked, surprised, and

embarrassed at the inaccurate reporting, Plaintiff mailed written disputes to Equifax

and Experian via certified mail, disputing the deceased reporting. Plaintiff requested

a reinvestigation into the disputed information, correct the reporting, and to be sent

a corrected disclosure.

      68.    Plaintiff’s dispute specifically included Plaintiff’s full name, date of

birth, Social Security number, and current address so that the credit bureaus would

be able to properly identify and locate Plaintiff’s credit file.


    The Credit Bureaus’ Method for Considering Consumer Credit Report
                                 Disputes

      69.    The credit industry has constructed a method of numeric-alpha codes

for considering consumer credit report disputes. See 15 U.S.C. § 1681i(a)(5)(D).

      70.    The credit bureaus, Equifax, Experian, Trans Union, and Innovis, have

thus created the Online Solution for Complete and Accurate Reporting, or e-

OSCAR, as the credit industries’ standard of performance. e-OSCAR allows the

credit bureaus to create and data furnishers to respond to disputes initiated by

consumers by routing credit reporting agency-created prompts for automated



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consumer dispute verifications to the appropriate data furnishers. e-OSCAR utilizes

a numeric-alpha language specific to the credit reporting industry.

      71.    That lexicon or unique language is commonly referred to in the credit

reporting industry as “Metro II.” It is also known industry wide as the CDIA’s

“Credit Reporting Resource Guide.”

      72.    Metro II is driven by numeric codes that translate into specific alpha

representations about consumers’ creditworthiness and character that will ultimately

appear on credit reports issued to third parties who make credit, insurance, rental,

and employment decisions regarding consumers.

      73.    Metro II codes are used on an industry wide form known within the

credit industry as an Automated Consumer Dispute Verification (“ACDV”)

electronic form.

      74.    The ACDVs have many fields in their body for use in effecting

thorough and complete communications between data furnishers and the credit

reporting agencies.

      75.    These ACDV “fields” have various titles for the many substantive areas

into which the Metro II codes can be entered.




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      76.    Upon receiving a dispute from a consumer, the credit bureaus have an

automated system that prepares ACDVs that are sent to each of the data furnishers

that are reporting the credit accounts disputed by a consumer.

      77.    The data furnishers then have an obligation under the FCRA to conduct

a reasonable reinvestigation with respect to the disputed credit account and review

all relevant information provided by the consumer with the dispute to determine

whether the disputed credit account information is accurate and/or belongs to the

disputing consumer. See 15 U.S.C. § 1681s-2(b).

      78.     Once the data furnisher completes its reinvestigation, it will code the

ACDV accordingly, representing either that the disputed account was verified as

accurate and belonging to the disputing consumer, updating information related to

the account, or deleting the account entirely, and return the ACDV to the respective

credit bureau(s) via eOSCAR.


            Equifax’s Response to Plaintiff’s February 2022 Dispute

      79.    Defendant Equifax did not respond to Plaintiff’s dispute.

      80.    Defendant Equifax did not indicate that Plaintiff’s dispute was found to

be frivolous or irrelevant.




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      81.    Defendant Equifax failed to conduct a reasonable reinvestigation of

Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the

disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).

      82.    In addition, Defendant Equifax failed to provide the requested credit

disclosure in violation of 1681g.


            Experian’s Response to Plaintiff’s February 2022 Dispute

      83.    Defendant Experian did not respond to Plaintiff’s dispute.

      84.    Defendant Experian did not indicate that Plaintiff’s dispute was found

to be frivolous or irrelevant.

      85.    Defendant Experian failed to conduct a reasonable reinvestigation of

Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the

disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).

      86.    In addition, Defendant Experian failed to provide the requested credit

disclosure in violation of 1681g.


 Homestar Financial Denied Plaintiff Mortgage Due to Inaccurate Credit on
                           February 17, 2022


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      87.     On or about February 17, 2022, Plaintiff sought to obtain a mortgage

loan and submitted a credit application.

      88.     Shortly thereafter, Homestar Financial denied Plaintiff credit based

upon the contents of Plaintiff’s credit reports.

      89.     Plaintiff takes great pride in Plaintiff’s good name and established

credit rating and works hard to ensure that the bills are paid in-full and on-time each

month. Plaintiff believes and understands that their credit record with creditors is

good, so Plaintiff could not imagine how the application had been denied.


            Plaintiff Sees Equifax Reporting Deceased on April 15, 2022


      90.     On or about April 15, 2022, Plaintiff sees that Equifax is reporting a

deceased notation in Plaintiff’s credit report.

     WebBank / Fingerhut
     Account Number 636992xxxxxxxxx
     Account Status: Consumer Deceased


         Plaintiff Sees Experian Reporting Deceased on April 15, 2022


      91.     On or about April 15, 2022, Plaintiff sees that Experian is reporting a

deceased notation in Plaintiff’s credit report.

     WebBank / Fingerhut
     Account Number 636992xxxxxxxxx

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     Account Status: Consumer Deceased


          Plaintiff’s Disputes with Equifax and Experian on April 18, 2022

      92.      On or about April 18, 2022, extremely shocked, surprised, and

embarrassed at the inaccurate reporting, Plaintiff mailed written disputes to Equifax

and Experian, via certified mail, disputing the deceased reporting. Plaintiff requested

a reinvestigation into the disputed information, correct the reporting, and to be sent

a corrected disclosures.

      93.      Plaintiff’s dispute specifically included Plaintiff’s full name, date of

birth, Social Security number, and current address so that the credit bureaus would

be able to properly identify and locate Plaintiff’s credit file.


                Equifax’s Response to Plaintiff’s April 2022 Dispute

      94.      Defendant Equifax removed the deceased notation from the credit

report.


               Experian’s Response to Plaintiff’s April 2022 Dispute


      95.      Defendant Experian did not respond to Plaintiff’s dispute.

      96.      Defendant Experian did not indicate that Plaintiff’s dispute was found

to be frivolous or irrelevant.


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      97.    Defendant Experian failed to conduct a reasonable reinvestigation of

Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the

disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).

      98.    In addition, Defendant Experian failed to provide the requested credit

disclosure in violation of 1681g.


         Plaintiff’s Sees Experian Reporting Deceased on May 13, 2022


      99.    On or about May 13, 2022, Plaintiff sees that Experian is reporting a

deceased notation in Plaintiff’s credit report.

     WebBank / Fingerhut
     Account Number 636992xxxxxxxxx
     Account Status: Consumer Deceased


               Plaintiff’s Dispute with Experian on May 13, 2022

      100. On or about May 13, 2022, extremely shocked, surprised, and

embarrassed at the inaccurate reporting, Plaintiff mailed a written dispute to

Experian, via certified mail, disputing the deceased reporting. Plaintiff requested a

reinvestigation into the disputed information, correct the reporting, and to be sent a

corrected disclosure.



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      101. Plaintiff’s dispute specifically included Plaintiff’s full name, date of

birth, Social Security number, and current address so that the credit bureaus would

be able to properly identify and locate Plaintiff’s credit file.


              Experian’s Response to Plaintiff’s May 2022 Dispute


      102. Defendant Experian did not respond to Plaintiff’s dispute.

      103. Defendant Experian did not indicate that Plaintiff’s dispute was found

to be frivolous or irrelevant.

      104. Defendant Experian failed to conduct a reasonable reinvestigation of

Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the

disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).

      105. In addition, Defendant Experian failed to provide the requested credit

disclosure in violation of 1681g.


                Plaintiff’s Dispute with Experian on June 10, 2022

      106. On or about June 10, 2022, extremely shocked, surprised, and

embarrassed at the inaccurate reporting, Plaintiff mailed a written dispute to

Experian, via certified mail, disputing the deceased reporting. Plaintiff requested a



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reinvestigation into the disputed information, correct the reporting, and to be sent a

corrected disclosure.

      107. Plaintiff’s dispute specifically included Plaintiff’s full name, date of

birth, Social Security number, and current address so that the credit bureaus would

be able to properly identify and locate Plaintiff’s credit file.


              Experian’s Response to Plaintiff’s June 2022 Dispute


      108. Defendant Experian did not respond to Plaintiff’s dispute.

      109. Defendant Experian did not indicate that Plaintiff’s dispute was found

to be frivolous or irrelevant.

      110. Defendant Experian failed to conduct a reasonable reinvestigation of

Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the

disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).

      111. In addition, Defendant Experian failed to provide the requested credit

disclosure in violation of 1681g.


           Plaintiff Sees Experian Reporting Deceased on July 5, 2022


      112. On or about July 5, 2022, Plaintiff sees that Experian is reporting a

deceased notation in Plaintiff’s credit report.
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     WebBank / Fingerhut
     Account Number 636992xxxxxxxxx
     Account Status: Consumer Deceased



                 Plaintiff’s Dispute with Experian on July 6, 2022

      113. On or about July 6, 2022, extremely shocked, surprised, and

embarrassed at the inaccurate reporting, Plaintiff mailed a written dispute to

Experian, via certified mail, disputing the deceased reporting. Plaintiff requested a

reinvestigation into the disputed information, correct the reporting, and to be sent a

corrected disclosure.

      114. Plaintiff’s dispute specifically included Plaintiff’s full name, date of

birth, Social Security number, and current address so that the credit bureaus would

be able to properly identify and locate Plaintiff’s credit file.


              Experian’s Response to Plaintiff’s July 2022 Dispute


      115. Defendant Experian did not respond to Plaintiff’s dispute.

      116. Defendant Experian did not indicate that Plaintiff’s dispute was found

to be frivolous or irrelevant.

      117. Defendant Experian failed to conduct a reasonable reinvestigation of

Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the


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disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).

      118. In addition, Defendant Experian failed to provide the requested credit

disclosure in violation of 1681g.


               Plaintiff’s Dispute with Experian on August 5, 2022

      119. On or about August 5, 2022, extremely shocked, surprised, and

embarrassed at the inaccurate reporting, Plaintiff mailed a written dispute to

Experian, via certified mail, disputing the deceased reporting. Plaintiff requested a

reinvestigation into the disputed information, correct the reporting, and to be sent a

corrected disclosure.

      120. Plaintiff’s dispute specifically included Plaintiff’s full name, date of

birth, Social Security number, and current address so that the credit bureaus would

be able to properly identify and locate Plaintiff’s credit file.


             Experian’s Response to Plaintiff’s August 2022 Dispute


      121. Defendant Experian did not respond to Plaintiff’s dispute.

      122. Defendant Experian did not indicate that Plaintiff’s dispute was found

to be frivolous or irrelevant.



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      123. Defendant Experian failed to conduct a reasonable reinvestigation of

Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the

disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).

      124. In addition, Defendant Experian failed to provide the requested credit

disclosure in violation of 1681g.


              Plaintiff’s Dispute with Experian on October 6, 2022

      125. On or about October 6, 2022, extremely shocked, surprised, and

embarrassed at the inaccurate reporting, Plaintiff mailed a written dispute to

Experian, via certified mail, disputing the deceased reporting. Plaintiff requested a

reinvestigation into the disputed information, correct the reporting, and to be sent a

corrected disclosure.

      126. Plaintiff’s dispute specifically included Plaintiff’s full name, date of

birth, Social Security number, and current address so that the credit bureaus would

be able to properly identify and locate Plaintiff’s credit file.


            Experian’s Response to Plaintiff’s October 2022 Dispute


      127. Defendant Experian did not respond to Plaintiff’s dispute.



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      128. Defendant Experian did not indicate that Plaintiff’s dispute was found

to be frivolous or irrelevant.

      129. Defendant Experian failed to conduct a reasonable reinvestigation of

Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the

disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).

      130. In addition, Defendant Experian failed to provide the requested credit

disclosure in violation of 1681g.


        Plaintiff Sees Experian Reporting Deceased on October 8, 2022


      131. On or about October 8, 2022, Plaintiff sees that Experian is reporting a

deceased notation in Plaintiff’s credit report.

     WebBank / Fingerhut
     Account Number 636992xxxxxxxxx
     Account Status: Consumer Deceased


      132. In the last two years, Plaintiff has disputed the Defendants' reporting

them as deceased, causing credit denials, which will be further identified during

discovery.




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      133. As a result of the “deceased” annotations contained throughout

Plaintiff’s credit reports, Defendants Equifax and Experian made it practically

impossible for Plaintiff to obtain credit.

      134. As a standard practice, Defendants Equifax and Experian do not

conduct independent investigations in response to consumer disputes. Instead, they

merely parrot the response of the furnisher despite numerous court decisions

admonishing this practice. See Cushman v. Trans Union Corp., 115 F.3d 220, 225

(3d Cir. 1997) (“The ‘grave responsibilit[y]’ imposed by § 1681i(a) must consist of

something more than merely parroting information received from other sources.

Therefore, a ‘reinvestigation’ that merely shifts the burden back to the consumer and

the credit grantor cannot fulfill the obligations contemplated by the statute.”);

Apodaca v. Discover Fin. Servs., 417 F. Supp. 2d 1220, 1230–31 (D.N.M. 2006)

(noting that credit reporting agencies may not rely on automated procedures that

make only superficial inquiries once the consumer has notified it that information is

disputed); Gorman v. Experian Info. Sols., Inc., 2008 WL 4934047, at *6 (S.D.N.Y.

Nov. 19, 2008).

      135. Consistent with their standard policies and procedures, Defendants

Equifax and Experian automatically generated their “investigation” results once the

aforementioned furnishers provided their responses to Plaintiff’s disputes, verifying

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that Plaintiff was deceased, and no employee from any of the credit bureaus took

any additional steps to review Plaintiff’s documentation, information, or the Social

Security Administration’s (“SSA”) Death Master File, which Defendants purchase

from the SSA, after the furnishers provided their responses to Plaintiff’s disputes.

      136. Instead, Defendants Equifax and Experian blindly accepted the

aforementioned furnishers’ incomplete version of the facts and continued to report

the inaccurate, derogatory information on Plaintiff’s credit reports, namely, that he

is deceased.

      137. Defendants Equifax and Experian continue the practice of parroting the

response from furnishers even though they have been repeatedly sued for failing to

conduct reasonable investigations as required by the FCRA.

      138. Defendants Equifax and Experian do not intend to modify their dispute-

processing procedures because doing so would drastically increase their operating

expenses.

      139. Instead, Defendants Equifax and Experian intentionally choose not to

comply with the FCRA to lower their costs. Accordingly, Defendants Equifax and

Experian’s violations of the FCRA are willful.

      140. At all times pertinent hereto, Defendants Equifax and Experian were

acting by and through their agents, servants, and/or employees who were acting

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within the course and scope of their agency or employment, and under the direct

supervision and control of the Defendants herein.

      141. At all times pertinent hereto, the conduct of Defendants Equifax and

Experian, as well as that of their agents, servants, and/or employees, was intentional,

willful, reckless, and in grossly negligent disregard for federal law and the rights of

Plaintiff herein.



                              CLAIMS FOR RELIEF

                                   COUNT I
                              15 U.S.C. § 1681e(b)
    Failure to Follow Reasonable Procedures to Assure Maximum Possible
                                   Accuracy
      (First Claim for Relief Against Defendants Equifax and Experian)

      142. Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-141 as if fully stated herein.

      143. The FCRA mandates that “[w]henever a consumer reporting agency

prepares a consumer report it shall follow reasonable procedures to assure maximum

possible accuracy of the information concerning the individual about whom the

report relates.” 15 U.S.C. § 1681e(b).

      144. On multiple occasions, Defendants Equifax and Experian prepared

patently false consumer reports concerning Plaintiff.

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       145. Despite actual and implied knowledge that Plaintiff is not dead,

Defendants Equifax and Experian readily sold such false reports to one or more third

parties,   thereby    misrepresenting      Plaintiff,   and    ultimately,    Plaintiff’s

creditworthiness.

       146. Defendants Equifax and Experian each violated 15 U.S.C. § 1681e(b)

by failing to establish or to follow reasonable procedures to assure maximum

possible accuracy in the preparation of the credit reports and credit files they

published and maintain concerning Plaintiff.

       147. As a result of Defendants Equifax and Experian’s conduct, action, and

inaction, Plaintiff suffered damage by loss of credit; loss of the ability to purchase

and benefit from Plaintiff’s credit; being chilled from seeking credit opportunities;

the expenditure of time and money disputing and trying to correct the blatantly

inaccurate credit reporting; and emotional distress including the mental and

emotional pain, anguish, humiliation, and embarrassment of credit denials, fear of

financial difficulty, and the inability to obtain credit for important life purchases.

       148. Defendants Equifax and Experian’s conduct, action, and inaction was

willful, rendering them liable for actual or statutory damages, and punitive damages

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, it was negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.

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      149. Plaintiff is entitled to recover attorneys’ fees and costs from Defendants

Equifax and Experian in an amount to be determined by the Court pursuant to 15

U.S.C. § 1681n and/or § 1681o.

                                  COUNT II
                              15 U.S.C. § 1681i
              Failure to Perform a Reasonable Reinvestigation
        (Second Claim for Relief Against Defendants Equifax and Experian)

      150. Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-141 as if fully stated herein.

      151. The FCRA mandates that Defendants Equifax and Experian conduct an

investigation of the accuracy of information “[i]f the completeness or accuracy of

any item of information contained in a consumer’s file” is disputed by the consumer.

See 15 U.S.C. § 1681i(a)(1). The Act impose a 30-day time limitation for the

completion of such an investigation. Id.

      152. The FCRA provides that if Defendants Equifax and Experian conduct

an investigation of disputed information and confirm that the information is in fact

inaccurate, or are unable to verify the accuracy of the disputed information, they are

required to delete that item of information from the consumer’s file. See 15 U.S.C.

§ 1681i(a)(5)(A).

      153. On multiple occasions in the last two years, Plaintiff sent written

disputes to Defendants Equifax and Experian, pleading with them to comply with
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their statutory reinvestigation obligations and correct and/or delete specific items in

Plaintiff’s credit files that are patently inaccurate, misleading, and highly damaging

to Plaintiff and Plaintiff’s ability to obtain credit, namely, references to Plaintiff

being “deceased.”

      154. Either Defendants Equifax and Experian conducted no investigation of

Plaintiff’s disputes, or such investigations were so shoddy as to allow patently false

and highly damaging information to remain in Plaintiff’s credit files, namely, the

deceased notations.

      155. Defendants Equifax and Experian violated 15 U.S.C. § 1681i on

multiple occasions by failing to conduct a reasonable reinvestigation to determine

whether the disputed information was inaccurate and record the current status of the

disputed information, or delete the disputed information, before the end of the 30-

day period beginning on the date on which they received the notices of dispute from

Plaintiff; and by failing to maintain reasonable procedures with which to filter and

verify disputed information in Plaintiff’s credit files.

      156. As a result of Defendants Equifax and Experian’s conduct, action, and

inaction, Plaintiff suffered damage by loss of credit; loss of the ability to purchase

and benefit from Plaintiff’s credit; being chilled from seeking credit opportunities;

the expenditure of time and money disputing and trying to correct the blatantly

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inaccurate credit reporting; and emotional distress including the mental and

emotional pain, anguish, humiliation, and embarrassment of credit denials, fear of

financial difficulty, and the inability to obtain credit for important life purchases.

      157. Defendants Equifax and Experian’s conduct, action, and inaction was

willful, rendering them liable for actual or statutory damages, and punitive damages

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, it was negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.

      158. Plaintiff is entitled to recover attorneys’ fees and costs from Defendants

Equifax and Experian in an amount to be determined by the Court pursuant to 15

U.S.C. § 1681n and/or § 1681o.

                                        COUNT III
                                  15 U.S.C. § 1681g
                    Failure to Provide Disclosures to Plaintiff

      159. Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-141 as if fully stated herein.

      160. Defendants violated 15 U.S.C. § 1681g by failing to provide Plaintiff’s

credit disclosure after each request.

      161. As a result of Defendants’ conduct, action, and inaction, Plaintiff

suffered damage by loss of credit; loss of the ability to purchase and benefit from


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Plaintiff’s credit; detriment to Plaintiff’s credit rating; the expenditure of time and

money disputing and trying to correct the inaccurate credit reporting; and emotional

distress including the mental and emotional pain, anguish, humiliation, and

embarrassment.

      162. Defendants’ conduct, action, and inaction was willful, rendering them

each separately liable for actual or statutory damages, and punitive damages in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, it was negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.

      163. Plaintiff is entitled to recover attorney's fees and costs from Defendants

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or

§ 1681o.

                                 PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for relief as follows:

      a)     Determining that Defendants negligently and/or willfully violated the

             FCRA;

      b)     Awarding Plaintiff actual damages, statutory, and punitive damages as

             provided by the FCRA;

      c)     Awarding Plaintiff reasonable attorneys’ fees and costs as provided by

             the FCRA; and

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     d)    Granting further relief, in law or equity, as this Court may deem

           appropriate and just.

                               DEMAND FOR JURY TRIAL

     164. Plaintiff demands a trial by jury.

Dated:     July 24, 2023


                                            /s/ Joseph P. McClelland
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